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4

5                               IN THE UNITED STATES DISTRICT COURT

6                            FOR THE EASTERN DISTRICT OF CALIFORNIA

7
        UNITED STATES OF AMERICA,                 )       Case No. 1:16-cr-0176 DAD
                                                  )
8
             Plaintiff-Respondent,                )       ORDER GRANTING
                                                  )       APPELLATE COUNSEL ACCESS
9                                                 )       TO SEALED TRANSCRIPTS
        v.                                        )
10                                                )       [9th Circuit Case No. 19-10151]
        DEJOHN WILEY,                             )
11                                                )
        ___Defendant-Appellant.__                 )
12
             Based on a showing of good cause, the Court grants appellate counsel Carolyn D. Phillips
13
     access to the sealed transcripts from the Marsden hearing held December 17, 2018, (Docket
14
     #184), and the sealed transcripts from the Faretta hearing held January 10, 2019, (Docket #193).
15   Counsel is to destroy all sealed transcripts in her possession when the appeal becomes final, as

16   measured by expiration of time to seek certiorari in the U.S. Supreme Court or conclusion of any

17   U.S. Supreme Court proceedings, whichever is later.

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19   IT IS SO ORDERED.

20      Dated:     May 15, 2019
                                                       UNITED STATES DISTRICT JUDGE
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